Case 2:08-CV-OZlOO-.]TF-cgc Document 45 Filed 10/27/08 Page 1 of 5 Page|D 480

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and TIMOTHY WILLIAMS, on behalf
of themselves and all other similarly
situated employees,
Plaintiffs, :
v. : No. 2:08-cv-2100-BBD-dkv

FTS USA, LLC, and
UNITEK USA, LLC,
Defendants.

 

DEFENDANTS’ RESPONSE T 0 PLAINTIFFS’
MOTION TO COMPEL DISCOVERY

Plaintiffs have filed this action claiming they have failed to receive overtime
payments from Defendants, in violation of the Fair Labor Standards Act, notwithstanding
that all of the named Plaintiffs have received, and cashed, paychecks from Defendant FTS
USA, LLC (“FTS”) that included payment for overtime hours worked. Defendants
respectfully request this Court dismiss Plaintiffs’ baseless Motion, as Defendants have
provided the documents requested by Plaintiffs.

On October lO, 2008, Plaintiffs filed the instant Motion to Compel Discovery,
notwithstanding counsel for Plaintiffs’ failure to comply with Local Rule 7.2(a)(1)(B).
Local Rule 7.2(a)(1)(B) reads, in relevant part:

Consultation by Counsel. All motions, including discovery motions

. shall be accompanied by a certificate of counsel affirming that, after
consultation between the parties to the controversy, they are unable to reach
an accord as to all issues or that all other parties are in agreement with the

action requested by the motion. Failure to attach an accompanying
certificate of consultation may be deemed good grounds for denying the

Case 2:08-ov-OZlOO-.]TF-cgo Dooument 45 Filed 10/27/08 Page 2 of 5 Page|D 481

motion.

The certificate must contain the names of participating counsel and
the date and manner of consultation The burden will be on moving counsel
filing the motion to initiate the conference upon giving reasonable notice of
time, place and specific nature of the conference

Plaintiffs have attached a Certificate of Consultation to their Motion, but said
Certificate does, and cannot, comply with Local Rule 7.2(a)(l)(B). Counsel for Plaintiffs
never proposed a conference to discuss the issues raised in her Motion with counsel for
Defendants. Additionally, as described below, Defendants have complied with Plaintiffs’
voluminous requests.

On July ll, 2008, Defendants served its initial answers to Plaintiffs’ Requests for
Production of Documents. Included with those answers, Defendants provided over 380
pages of documents, including employee files and compensation information

On July 29, 2008, at the deposition of Elizabeth Downey, the Chief Executive
Officer of Defendant, UniTek USA, LLC (“Unitek”), Defendants supplemented its response
by hand-serving another set of documents on Plaintiffs. These documents included
hundreds of time sheets for the named Plaintiffs.

On August 26, 2008, Defendants once again supplemented its response to Plaintiffs’
Request for Production by serving Plaintiffs with of more documents, which included
hundreds of the requested routing sheets. On October 20, 2008, Defendants again
supplemented its production of documents by providing Plaintiffs hundreds of more routing
sheets.

Counsel for Defendants has consistently represented that Defendants will continue to

supplement its production in response to Plaintiffs’ burdensome and voluminous requests.

As Plaintiffs are aware, since they continue to be employees of Defendant FTS, document

Case 2:08-ov-OZlOO-.]TF-cgo Dooument 45 Filed 10/27/08 Page 3 of 5 Page|D 482

production can never be complete, given the ongoing nature of these claims. Nevertheless,

without properly consulting with Defendants’ counsel in violation of the Court’s rules,

Plaintiffs have burdened the Court With the instant, baseless Motion.

ELLIOTT GREENLEAF &
SIEDZIKOWSKI, P.C.

DATED: October 27, 2008

jr 05

Eric J. Bronstein
Colin D. Doughert
Union Meeting Corporate Center
925 Harvest Drive

Blue Bell, PA 19422

(215) 977-1000

   

 

Counsel for Defendants

Case 2:08-ov-OZlOO-.]TF-cgo Dooument 45 Filed 10/27/08 Page 4 of 5 Page|D 483

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and TIMOTHY WILLIAMS, on behalf
of themselves and all other similarly
situated employees,
Plaintiffs, .
v. : No. 08-2100

FTS USA, LLC, and
UNITEK USA, LLC,
Defendants.

 

ORDER

AND NOW, this day of November, 2008, upon consideration of Plaintiffs’
Motion to Compel Discovery and Defendants response thereto, it is hereby ORDERED,

ADJUDGED and DECREED that said Motion is DENIED and DISMISSED.

BY THE COURT:

 

Bernice Bouie Donald, J.

Case 2:08-ov-OZlOO-.]TF-cgo Dooument 45 Filed 10/27/08 Page 5 of 5 Page|D 484

CERTIFICATE OF SERVICE

I, Colin D. Dougherty, hereby certify that, on this date, I caused a true and correct

copy of the foregoing to be served, by way of electronic mail upon the following:

Rachhana T. Srey, Esq.

Nichols Kaster & Anderson, PLLP
4600 IDS Center

80 south 8“‘ street

Minneapolis, MN 55402

Attorney for Plaintiffs

/r aaa/f

CoLIN D. DoUoHERTY

DATED: October 27, 2008

